




No. 2--95--1540

______________________________________________________________________________



IN THE



APPELLATE COURT OF ILLINOIS



SECOND DISTRICT

______________________________________________________________________________



THE CITY OF BELVIDERE, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;			) &nbsp;Appeal from the Order of the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					) &nbsp;State Labor Relations Board

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petitioner-Appellant, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;				)

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					) &nbsp;No. 94--S-CA--39

 &nbsp;&nbsp;&nbsp;&nbsp;v. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					)

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					)

ILLINOIS STATE LABOR RELATIONS &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;		)

BOARD; MANNY HOFFMAN, ROBERT M. &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;		)

HEALEY, and ROBERT J. HILLIARD, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;		)

as Members of the Illinois &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;				)

Labor Relations Board; and THE &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;			)

BELVIDERE PROFESSIONAL FIRE- &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;		)

FIGHTERS ASSOCIATION, LOCAL &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;		)

1569, IAFF, &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					) &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;					) &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Respondents-Appellees. &nbsp;&nbsp;&nbsp;&nbsp;				) &nbsp;

______________________________________________________________________________



 &nbsp;&nbsp;&nbsp;&nbsp;JUSTICE DOYLE delivered the opinion of the court:



 &nbsp;&nbsp;&nbsp;&nbsp;The City of Belvidere, Illinois (City), appeals from a

decision and order of the Illinois State Labor Relations Board

(Board) in favor of the Belvidere Professional Firefighters

Association, Local 1569, IAFF (Union). &nbsp;The Board decided that the

City's refusal to bargain with the Union over the City's decision

to contract with a private ambulance company to provide paramedic

services in the City was an unfair labor practice because the

matter was a mandatory subject of collective bargaining. &nbsp;The Board

ordered the City to rescind the contract and engage in collective

bargaining with the Union. &nbsp;On appeal, the City contends that the

Board erred when it determined that the City's decision was a

mandatory subject of collective bargaining.

 &nbsp;&nbsp;&nbsp;&nbsp;We allowed, in part, the City's motion to stay the Board's

order pending the outcome of this appeal. &nbsp;We stayed the portion of

the order requiring the City to rescind the contract with the

private ambulance company.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Background

 &nbsp;&nbsp;&nbsp;&nbsp;Since January 6, 1992, the Union has been the exclusive

bargaining agent for the City's 15 fire fighters. &nbsp;Prior to

January 6, 1992, the Belvidere City Employees' Association (BCEA)

represented the fire fighters.

 &nbsp;&nbsp;&nbsp;&nbsp;Since 1974, one function of the Belvidere fire department

(fire department) has been to provide emergency medical services

(EMS) to residents of Belvidere. &nbsp;The Emergency Medical Services

(EMS) Systems Act (EMS Act) (210 ILCS 50/1 et seq. (West 1994))

governs the provision of EMS in Illinois. &nbsp;Under the EMS Act, the

Illinois Department of Public Health (Department) has the authority

and responsibility to certify and license individuals to provide

EMS. &nbsp;210 ILCS 50/10 (West 1994).

 &nbsp;&nbsp;&nbsp;&nbsp;The EMS Act sets out three levels of licensing for individuals

performing EMS. &nbsp;The three licensing levels have different

education, training, and testing requirements. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;The lowest level of certification is Emergency Medical

Technician--Ambulance (EMT--A). &nbsp;210 ILCS 50/4.12 (West 1994). 

Effective July 19, 1995, the EMT--A designation was changed to EMT-

-B (Basic). &nbsp;210 ILCS Ann. 50/3.50 (Smith-Hurd Supp. 1996). &nbsp;We

will continue to use EMT--A because that designation was in effect

during the time material to this appeal. &nbsp;An EMT--A may perform

basic life support (BLS) services, such as airway management,

cardiopulmonary resuscitation, control of shock and bleeding, and

splinting of fractures.

 &nbsp;&nbsp;&nbsp;&nbsp;An intermediate level of certification is Emergency Medical

Technician--Intermediate (EMT--I). &nbsp;210 ILCS 50/4.15 (West 1994). 

An EMT--I may perform BLS services and certain advanced life

support (ALS) services.

 &nbsp;&nbsp;&nbsp;&nbsp;The highest level of certification is Emergency Medical

Technician--Paramedic (EMT--P or paramedic). &nbsp;210 ILCS 50/4.13

(West 1994). &nbsp;An EMT--P may perform ALS services which include all

BLS services plus cardiac monitoring, cardiac defibrillation,

electrocardiography, administration of antiarrhythmic agents,

intravenous therapy, administration of medications, drugs and

solutions, use of adjunctive medical devices, trauma care, and

other authorized techniques and procedures.

 &nbsp;&nbsp;&nbsp;&nbsp;The Department also has the responsibility for licensing and

setting standards for the operation of ambulances. &nbsp;The Department

licenses ambulances at three levels of service. &nbsp;These levels are: 

BLS; intermediate life support (ILS); and ALS.

 &nbsp;&nbsp;&nbsp;&nbsp;Every ambulance must be staffed with at least two EMTs. &nbsp;An

ILS ambulance must be staffed at all times with at least one EMT--

I. &nbsp;An ALS ambulance must be staffed at all times with at least one

paramedic.

 &nbsp;&nbsp;&nbsp;&nbsp;The City purchased its first ambulance and began providing EMS

through its fire department in 1974. &nbsp;By 1976, the City required

its fire fighters, as a condition of employment, to become

certified medical technicians at the EMT--A level. &nbsp;Eventually,

through attrition and training, all of the City's fire fighters

became EMT--As. &nbsp;In 1980, the City acquired and began operating a

second ambulance.

 &nbsp;&nbsp;&nbsp;&nbsp;In the late 1980s, several of the City's fire fighters began

training as EMT--Is. &nbsp;By January 1, 1990, six fire fighters had

received EMT--I certification, and the City began operating one of

its ambulances at the ILS level. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;Throughout this time period, when the City received a 911

call, the fire department ambulances had dispatch priority. &nbsp;This

meant that in response to a 911 call the dispatcher would send a

fire department ambulance staffed with two fire fighter/EMTs to the

scene. &nbsp;At the discretion of the shift commander on duty, an engine

manned by two or three additional fire fighter/EMTs might also be

dispatched to the call. &nbsp;Only if the caller specifically requested

a private ambulance was a private ambulance dispatched. &nbsp;The City

occasionally requested backup assistance from private ambulance

companies when, for example, calls came in while the City's

ambulances were already in service, or when additional emergency

medical personnel were needed. &nbsp;On those occasions, the City's fire

fighter/EMTs worked alongside the paramedics from the ambulance

companies to provide EMS.

 &nbsp;&nbsp;&nbsp;&nbsp;In 1989 or early in 1990, the City required three probationary

fire fighters to sign individual agreements that, as a condition of

their employment, they would become licensed and certified as

either an EMT--I or EMT--P. &nbsp;The BCEA subsequently filed a

grievance protesting the imposition of this requirement. &nbsp;The

matter was resolved when the City removed the individual agreements

from the fire fighters' personnel files. &nbsp;However, the City

asserted that it had the right to require new fire fighters to

undergo EMT--P training and assume EMT--P assignments.

 &nbsp;&nbsp;&nbsp;&nbsp;In 1990, during negotiations for a new collective bargaining

agreement, the City and the BCEA discussed proposals for a

paramedic program within the fire department. &nbsp;The parties were

unable to reach agreement as to such a program, and a program was

not implemented.

 &nbsp;&nbsp;&nbsp;&nbsp;In 1991, two fire fighters downgraded their certification from

EMT--I to EMT--A. &nbsp;This left the fire department with only four

EMT--Is. &nbsp;Four EMT--Is was an insufficient number to man the fire

department's ILS ambulance around the clock without excessive

overtime. &nbsp;Consequently, the City subsequently downgraded the

status of its ILS ambulance to the BLS level pending installation

of a paramedic program.

 &nbsp;&nbsp;&nbsp;&nbsp;On May 13, 1991, the City council's public safety committee

created an ad hoc committee to discuss the feasibility of turning

over the City's ambulance service to an outside party. &nbsp;The ad hoc

committee consisted of the mayor, the fire chief, two city council

members, a BCEA representative, and two citizens at large. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;The ad hoc committee met periodically from June 26, 1991,

through October 8, 1991. &nbsp;The committee gathered information

regarding EMS from 32 communities that were comparable in size to

Belvidere. &nbsp;The committee also sent a questionnaire to 10 private

ambulance companies requesting information regarding the level and

scope of services the companies offered and background information.

 &nbsp;&nbsp;&nbsp;&nbsp;During this period, the fire department submitted a document

to the committee. &nbsp;The document urged the City to provide paramedic

services through the fire department and analyzed the projected

costs involved. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;On October 9, 1991, the ad hoc committee submitted its

recommendations to the public safety committee. &nbsp;The

recommendations were: 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"(1.) The city's level of EMS needs to be upgraded to

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;paramedic level.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(2.) &nbsp;&nbsp;&nbsp;User fees need to more closely reflect the actual cost

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;of offering this service. &nbsp;It is recommended that the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;city increase the ambulance charge in line with this

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;goal.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(3.) &nbsp;&nbsp;&nbsp;That any firefighter hired after August 1989, is

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;subject to a requirement of attaining paramedic

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;certification, should the city institute the program. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At a minimum, this should be set out by Resolution.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(4.) &nbsp;&nbsp;&nbsp;One of the options may be privatization of EMS. &nbsp;Four

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;private companies have expressed interest in performing

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;the service. &nbsp;Cost data for this option can only be

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;supplied if the city assembles bid specifications for

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;the service that is wanted. &nbsp;The Ad Hoc Committee could

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;assist in this task.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(5.) &nbsp;&nbsp;&nbsp;A proposal has been received from the Belvidere

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;firefighters to offer this service in-house. &nbsp;The

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;terms, conditions, and cost will need to be set out in

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;a future contract, and should be recommended to

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;negotiators.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(6.) &nbsp;&nbsp;&nbsp;That the city can require paramedic certification as a

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;pre-employment requirement. &nbsp;This should be set out in

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;an ordinance to take effect for all firefighters hired

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;after December 29, 1991.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(7.) &nbsp;&nbsp;&nbsp;That the only way to compare the merits of findings (4)

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;and (5) is to prepare bidding specifications and

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;formally submit them to the four private EMS companies;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Lifeline, Public Safety Services, Metro, and A-Tec. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The results can then be compared with the costs of

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;findings(s)." &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On October 14, 1991, the public safety committee considered

the ad hoc committee's recommendations. &nbsp;The public safety

committee decided to prepare bid specifications for private

ambulance service with paramedics. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;In January 1992, the City prepared and sent its specifications

to four private ambulance companies. &nbsp;All four ambulance companies

responded; however, three of the companies declined to submit

proposals. &nbsp;Only one company, Lifeline Ambulance (Lifeline),

indicated that the City's specifications were generally acceptable

with certain items negotiable.

 &nbsp;&nbsp;&nbsp;&nbsp;The Union also submitted a response to the bid specifications. 

The Union's response consisted of the analysis it had previously

submitted to the ad hoc committee and additional material aimed at

persuading the City to use fire fighters as paramedics. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;On January 21, 1992, the public safety committee met as a

committee of the whole City council. &nbsp;The council reviewed the

response to the bid specifications. &nbsp;In a 7 to 3 vote, the council

voted against a motion "to honor our prior resolution agreement

with the Firefighters by addressing the paramedic issue in

negotiations prior to implementing anything within the City." &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;In 1992, the City and the Union negotiated a new collective

bargaining agreement. &nbsp;At that time, the parties discussed

proposals for a paramedic program within the fire department. &nbsp;The

parties were unable to reach agreement regarding such a program,

and none was implemented.

 &nbsp;&nbsp;&nbsp;&nbsp;On January 14, 1993, the fire chief sent a letter to the

finance and personnel committee of the City council. &nbsp;The letter

stated that the Union had decided to take it upon itself to begin

paramedic training on January 18, 1993. &nbsp;In the letter, the chief

opined that it would be preferable if the City and the fire

fighters were in agreement on such training and suggested that the

contract be reopened to discuss the issue.

 &nbsp;&nbsp;&nbsp;&nbsp;In the spring of 1993, at the City council's request, the

chief prepared another analysis of the costs to upgrade the fire

department's EMS program to paramedic level. &nbsp;The chief estimated

that the initial costs would range from $78,000 to $247,000, and

ongoing costs would range from $20,000 to $127,000 annually. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;Shortly after the chief submitted his analysis, the City

resolicited bids from private ambulance companies to upgrade the

City's ambulance service. &nbsp;The City advised the Union of its

resolicitation of bids by sending the Union a copy of the bid

solicitation.

 &nbsp;&nbsp;&nbsp;&nbsp;A series of letters between the Union and the City followed. 

The Union took the position that the bid solicitation was an

invitation to modify the contract between the Union and the City. 

The Union requested collective bargaining over the issue. &nbsp;The City

declined to bargain. &nbsp;In a letter dated August 26, 1993, the City

stated that it did "not have a duty to bargain over the decision to

contract paramedic services within the City limits under the

circumstances presented."

 &nbsp;&nbsp;&nbsp;&nbsp;On September 7, 1993, the City authorized the preparation of

an agreement with Lifeline to provide paramedic ambulance services. 

The City subsequently approved the agreement with Lifeline. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;In a letter dated September 8, 1993, the Union demanded

collective bargaining over the "effects of the City contracting out

bargaining unit work." &nbsp;In a letter dated September 9, 1993, the

City agreed to enter into bargaining over the effects of the City's

decision. &nbsp;However, the City's refusal to bargain over the decision

itself has continued since August 26, 1993.

 &nbsp;&nbsp;&nbsp;&nbsp;On September 13, 1993, the Union filed an unfair labor

practice charge with the Board. &nbsp;The basis of the Union's charge

was the City's refusal to bargain over its decision to contract out

paramedic services. &nbsp;The Board subsequently issued a complaint for

a hearing.

 &nbsp;&nbsp;&nbsp;&nbsp;On May 2, 1994, an administrative law judge (ALJ) conducted a

hearing on the Union's charge. &nbsp;On March 16, 1995, the ALJ issued

a recommended decision and order, ruling that the City's decision

was not a mandatory subject of collective bargaining. &nbsp;On April 13,

1995, the Union filed exceptions to the ALJ's recommendations.

 &nbsp;&nbsp;&nbsp;&nbsp;On June 26, 1995, the Board heard oral arguments on the

matter. &nbsp;On November 2, 1995, the Board issued a decision and

order. &nbsp;The Board adopted the ALJ's findings of fact but reversed

the ALJ's conclusion by deciding that the City's decision was a

mandatory subject of collective bargaining. &nbsp;The City's timely

appeal followed.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Analysis

 &nbsp;&nbsp;&nbsp;&nbsp;Judicial review of a decision by the Board extends to all

questions of law and fact presented by the record, and the Board's

findings of fact are deemed prima facie true and correct. &nbsp;City of

Freeport v. Illinois State Labor Relations Board, 135 Ill. 2d 499,

507 (1990). &nbsp;The Board's determinations of questions of law are not

entitled to the same deference as its findings of fact. &nbsp;City of

Freeport, 135 Ill. 2d at 507. &nbsp;Nonetheless, a reviewing court

should give substantial deference to the Board's interpretation of

a statute which it administers and enforces, unless the Board's

interpretation is clearly wrong. &nbsp;City of Freeport, 135 Ill. 2d at

516.

 &nbsp;&nbsp;&nbsp;&nbsp;The question before us in this appeal is whether the Board

erred when it decided that the City's refusal to engage in

collective bargaining with the Union over the City's decision to

contract out paramedic services was an unfair labor practice which

violated the Illinois Public Labor Relations Act (Act) (5 ILCS

315/1 et seq. (West 1994)). &nbsp;Section 10(a)(4) of the Act makes it

an unfair labor practice for a public employer to refuse to bargain

collectively in good faith with a labor organization which is the

exclusive representative of public employees in an appropriate

unit. &nbsp;5 ILCS 315/10(a)(4) (West 1994).

 &nbsp;&nbsp;&nbsp;&nbsp;Section 7 of the Act imposes a duty on a public employer to

engage in good faith collective bargaining with its employees'

exclusive representative "with respect to wages, hours, and other

conditions of employment, not excluded by Section 4" of the Act. 

5 ILCS 315/7 (West 1994). &nbsp;Section 4 states, in relevant part:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"Employers shall not be required to bargain over

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;matters of inherent managerial policy, which shall include

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;such areas of discretion or policy as the functions of the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;employer, standards of services, its overall budget, the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;organizational structure and selection of new employees,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;examination techniques and direction of employees. 

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Employers, however, shall be required to bargain

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;collectively with regard to policy matters directly

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;affecting wages, hours and terms and conditions of

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;employment as well as the impact thereon upon request by

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;employee representatives." &nbsp;5 ILCS 315/4 (West 1994).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Central City Education Ass'n v. Illinois Educational Labor

Relations Board, 149 Ill. 2d 496 (1992), our supreme court

addressed sections of the Illinois Educational Labor Relations Act

(115 ILCS 5/1 et seq. (West 1994)) which contained language similar

to sections 4 and 7 of the Act. &nbsp;The court set out a three-part

test to determine whether an issue is a mandatory subject of

collective bargaining as follows:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"The first part of the test requires a determination of

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;whether the matter is one of wages, hours and terms and

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;conditions of employment. &nbsp;This is a question that the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;[Board] is uniquely qualified to answer, given its

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;experience and understanding of bargaining in *** labor

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;relations. &nbsp;If the answer to this question is no, the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;inquiry ends and the employer is under no duty to bargain.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;If the answer to the first question is yes, then the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;second question is asked: Is the matter also one of inherent

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;managerial authority? &nbsp;If the answer to the second question

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;is no, then the analysis stops and the matter is a mandatory

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;subject of bargaining. &nbsp;If the answer is yes, then *** the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;matter is within the inherent managerial authority of the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;employer and it also affects wages, hours and terms and

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;conditions of employment.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;At this point in the analysis, the [Board] should

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;balance the benefits that bargaining will have on the

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;decisionmaking [sic] process with the burdens that

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;bargaining imposes on the employer's authority. &nbsp;Which

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;issues are mandatory, and which are not, will be very fact-

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;specific questions, which the [Board] is eminently qualified

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;to resolve." &nbsp;Central City, 149 Ill. 2d at 523.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This case involves a charge that the City unilaterally

contracted out unit work without engaging in collective bargaining. 

In such cases, when making the determination required by the first

part of the Central City test, an administrative agency should

apply the criteria set out in Westinghouse Electric Corp., 150 NLRB

1574 (1965). &nbsp;Fenton Community High School District 100, 5 Pub.

Employee Rep. (Ill.) par. 1004, No. 87--CA--0009--C (ISLRB,

November 29, 1988). &nbsp;The Westinghouse criteria are whether the

contracting out (1) involved a departure from previously

established operating practices; (2) effected a change in the

conditions of employment; or (3) resulted in a significant

impairment of job tenure, employment security, or reasonably

anticipated work opportunities for those in the bargaining unit. 

Westinghouse, 150 N.L.R.B. at 576.

 &nbsp;&nbsp;&nbsp;&nbsp;In this case, both the ALJ and the Board applied the

Westinghouse criteria in making the determination required by the

first part of the Central City test. &nbsp;The ALJ summarily found that

the Board's decision was not a matter which implicated either of

the first two Westinghouse criteria. &nbsp;The ALJ then evaluated the

third Westinghouse criterion. &nbsp;The ALJ stated that the crucial

question in determining whether an employer's decision to contract

out work gave rise to a duty to bargain under this criterion was

whether the employer's action deprived the bargaining unit of

"fairly claimable work opportunities." &nbsp;The ALJ found that the

paramedic work in this case was not bargaining unit work which the

fire fighters had a reasonable expectation would be assigned to

them. &nbsp;The ALJ gave substantial weight to the fact that the City

had not previously provided paramedic services and that the fire

fighters were not qualified by certification to perform paramedic

work. &nbsp;Thus, the ALJ determined that the City's decision did not

implicate any of the Westinghouse criteria.

 &nbsp;&nbsp;&nbsp;&nbsp;Contrary to the ALJ, the Board found that the City's decision

implicated each of the Westinghouse criteria. &nbsp;As to the first

Westinghouse criterion, whether the City's decision was a departure

from previously established operating practices, the Board focused

on the way dispatchers handled 911 calls for EMS before and after

the City contracted out the work. &nbsp;The Board determined that the

City's decision caused the fire fighters to lose the responsibility

for providing the first-line response to 911 calls for EMS. &nbsp;The

Board concluded that this was a significant change in operating

practices.

 &nbsp;&nbsp;&nbsp;&nbsp;In applying the second Westinghouse criterion, whether there

was a change in the conditions of employment, the Board noted that

as a result of the City's decision the fire fighters responded to

fewer EMS calls and performed fewer EMS duties than before the

City's decision. &nbsp;The Board concluded that this showed a

demonstrable adverse change in the working conditions of the fire

fighters, notwithstanding the fact that no fire fighter had been

laid off or discharged as a result of the City's decision.

 &nbsp;&nbsp;&nbsp;&nbsp;The Board strongly disagreed with the ALJ regarding the third

Westinghouse criterion, whether the City's decision resulted in a

significant impairment of the fire fighters' reasonably anticipated

opportunities. &nbsp;The Board focused on the ALJ's reliance on the fact

that the fire fighters lacked the requisite training and

certification to perform paramedic services and, therefore, could

not perform the paramedic services without substantial additional

training.

 &nbsp;&nbsp;&nbsp;&nbsp;In finding that the work was fairly claimable by the fire

fighters, the Board first determined that the City itself had

viewed the paramedic work as a reasonable extension of the fire

fighters' duties as evidenced by the City's various attempts to

come to terms with the fire fighters on the matter. &nbsp;The Board next

determined that the City had previously requested its fire fighters

to attain certain levels of EMT certification and had paid for the

training necessary for the fire fighters to attain the requisite

certification. &nbsp;The Board also stated that the EMT certification

levels build upon one another and require advancing skills so that

the paramedic services were really an upgraded or enhanced service,

rather than a completely new program. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;On appeal, the City generally contends that the Board used too

liberal a standard in applying the first part of the Central City

test. &nbsp;In the City's view, the ALJ's analysis was correct. &nbsp;More

specifically, the City posits that the Board incorrectly applied

the Westinghouse criteria. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;As to the first Westinghouse criterion, the City essentially

maintains that there has effectively been no change in previously

established operating procedures. &nbsp;The City argues that (1) the

fire department and private ambulance companies always shared the

provision of EMS and that has not changed; (2) the fire fighters'

procedures are essentially unchanged in that the fire fighters

continue to respond to all serious EMS calls; (3) nothing has

changed as to the provision of paramedic services because private

companies previously provided those services; and (4) the City has

always made unilateral decisions regarding the provision of EMS and

simply continued to do so when it decided to contract out the

paramedic services.

 &nbsp;&nbsp;&nbsp;&nbsp;The Board responds that the evidence shows that the City did

not make a practice of unilaterally deciding about EMS. &nbsp;The Board

points to the history of the relation between the City and the fire

fighters and the periodic discussions between those parties on this

matter. &nbsp;The Board also notes that the record shows that the City

did not previously contract with private companies and argues that

the City's decision to contract with Lifeline was therefore a

change in procedure. &nbsp;Finally, the Board reiterates its conclusion

that because the fire fighters no longer are given the first

priority in responding to calls for EMS there has been a change in

operating procedures.

 &nbsp;&nbsp;&nbsp;&nbsp;We disagree with the Board's determination that the City's

decision constituted a departure from previously established

operating procedures and conclude that the Board's determination

was clearly wrong. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;The Board's determination ignored the fact that prior to the

City's decision to contract with Lifeline for paramedic services

the fire department and private ambulance companies always

cooperated with each other and shared the duties of providing EMS. 

The City's decision has not changed this basic operating procedure.

 &nbsp;&nbsp;&nbsp;&nbsp;Private ambulance companies have always provided, both before

and after the City's decision, paramedic services in the City. &nbsp;The

fire department has never provided paramedic services. &nbsp;Under the

contract, the fire department will continue to provide EMS. &nbsp;The

contract provides that Lifeline must request assistance from the

fire department on certain types of emergency calls, including

those involving cardiac or respiratory emergencies, trauma, and all

motor vehicle accidents.

 &nbsp;&nbsp;&nbsp;&nbsp;In view of this continuing basic operating procedure, we

believe the Board focused on relatively inconsequential changes in

making its determination regarding the first Westinghouse

criterion. &nbsp;For this reason, we conclude that the Board erred when

it determined that the first Westinghouse criterion was applicable

to this case.

 &nbsp;&nbsp;&nbsp;&nbsp;As to the second Westinghouse criterion, the City contends

that the Board's determination that the City's decision effected a

change in the fire fighters' conditions of employment was erroneous

because the fire fighters continued to perform most of the same EMS

that they performed before the City's decision. &nbsp;The City concedes

that the fire fighters no longer respond to calls which merely

require transportation in an ambulance, but dismiss this change

because such calls only constituted a small percentage of the calls

to which the fire fighters previously responded. 

 &nbsp;&nbsp;&nbsp;&nbsp;The record is unclear as to the exact number and type of calls

to which the fire fighters no longer respond. &nbsp;However, the record

is clear that the City's decision has not resulted in the

elimination of any fire fighter positions or in a reduction in

working hours or wages for any fire fighter. &nbsp;Moreover, the fire

fighters generally continue to work the same shifts that they

worked before the City's decision. &nbsp;While at work, the fire

fighters continue to respond to calls for EMS and continue to

provide basic life support services when called.

 &nbsp;&nbsp;&nbsp;&nbsp;On this record, we conclude that the Board's determination

that there was a significant change in conditions of employment as

a result of the City's decision was clearly wrong. &nbsp;Accordingly,

the Board was not entitled to determine that the second

Westinghouse criterion applied in this case.

 &nbsp;&nbsp;&nbsp;&nbsp;As to the third Westinghouse criterion, the City contends that

the Board's determination was erroneous because of the qualitative

differences between paramedic services and the EMS which the fire

fighters currently perform. &nbsp;In the City's view, the fire fighters

could not have had a reasonable expectation of performing the

paramedic work because they were not legally qualified to perform

such work. &nbsp;The City asserts that the Board erred in determining

that paramedic services were merely an upgrade of the services the

fire fighters were performing prior to the City's decision. &nbsp;The

City argues that its discussion with the fire fighters about

training the fire fighters to become paramedics is not a valid

basis for the Board's determination. &nbsp;The City maintains that it

always made it clear to the fire fighters that it might contract

out for the work.

 &nbsp;&nbsp;&nbsp;&nbsp;The Board responds that the fire fighters had a reasonable

anticipation of work opportunities as paramedics because (1) the

fire fighters had been performing EMS since 1974; (2) paramedic

work is not wholly different or completely new work for the fire

fighters, but simply an upgraded level of EMS; and (3) the City

itself considered the paramedic services to be an upgrade as

evidenced by the discussions the City held and serious

consideration the City gave to using the fire fighters as

paramedics.

 &nbsp;&nbsp;&nbsp;&nbsp;Again, the Board's determination was clearly wrong. &nbsp;Although

it is true that the City's fire fighters have been performing EMS

since 1974, it is also true that the fire fighters have never

performed paramedic services and that they lack the required

training and licensure to perform paramedic services. &nbsp;Thus, the

City did not contract out for work which the fire fighters had

previously performed or which they were capable of performing. &nbsp;At

a minimum, extensive training of virtually all the fire fighters

over many months would be necessary to train the fire fighters so

that they could perform paramedic services. &nbsp;This would necessarily

entail a significant upset to the status quo in the operation of

the City's fire department.

 &nbsp;&nbsp;&nbsp;&nbsp;Nor are we persuaded that paramedic work is simply an upgrade

or extension of the EMS work the fire fighters have been

performing. &nbsp;Most of the fire fighters are EMT--As. &nbsp;Two fire

fighters who had attained EMT--I licenses voluntarily downgraded

themselves back to EMT--A. &nbsp;The chasm between an EMT--A and a

paramedic is substantial. &nbsp;An EMT--A may only perform the most

basic life support functions. &nbsp;A paramedic may perform advanced

life support functions involving several procedures which an EMT--A

is not qualified to perform. &nbsp;Paramedics often perform these

procedures in the treatment of real or potential acute life-

threatening conditions. &nbsp;Thus, paramedic work is qualitatively

different from and completely new from EMT--A work, the work that

the fire fighters have been performing.

 &nbsp;&nbsp;&nbsp;&nbsp;Finally, the fact that the City held discussions with the

Union or BCEA about training the fire fighters to be paramedics

does not mean that the City considered paramedic services to be

merely an upgrade of the EMT--A services the fire fighters had been

performing. &nbsp;The City made it clear that it was also considering

continuing to use a private company to provide the services. &nbsp;The

mere fact that a party proposes or discusses an issue does not make

the issue a mandatory subject of collective bargaining. &nbsp;American

Federation of State, County &amp; Municipal Employees v. Illinois State

Labor Relations Board, 190 Ill. App. 3d 259, 269 (1989).

 &nbsp;&nbsp;&nbsp;&nbsp;Based on the foregoing, we conclude that the Board erred when

it determined that each of the Westinghouse criteria was applicable

in this case. &nbsp;Accordingly, the Board erred when it found that the

answer to the first part of the Central City test was "yes," i.e.,

that the City's decision was a matter of wages, hours, and terms

and conditions of employment. &nbsp;The correct answer was "no."

 &nbsp;&nbsp;&nbsp;&nbsp;Because the correct answer to the first part of the Central

City test was "no," the Board should have ended its inquiry at that

point. &nbsp;Central City, 149 Ill. 2d at 523. &nbsp;For the same reason, The

Board should have determined that the City did not have a duty to

bargain with the Union over the City's decision to contract out for

paramedic services.

 &nbsp;&nbsp;&nbsp;&nbsp;Based on the foregoing, we conclude that the Board erred when

it determined that under the Central City test the City's decision

was a mandatory subject of collective bargaining. &nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;Accordingly, the Board's decision and order is reversed.

 &nbsp;&nbsp;&nbsp;&nbsp;Reversed.

 &nbsp;&nbsp;&nbsp;&nbsp;Inglis and Bowman, JJ., concur.






